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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


                                                  )
In re:                                            )     Chapter 11
                                                  )     Case No. 17-01302-JJG-11
hhgregg, Inc., et al.,                            )     (Jointly Administered)
                                                  )
                         Debtors.                 )
                                                  )
Electrolux Home Products, Inc.,                   )
                                                  )
                         Plaintiff,               )
                                                  )
v.                                                )
                                                  )
                                                  )     Adversary Proceeding No. 17-50098-JJG
hhgregg, Inc., HHG Distributing LLC, Gregg
                                                  )
Appliances, Inc., Wells Fargo Bank, National      )
Association, GACP Finance Co., LLC,               )
                                                  )
                         Defendants.              )
                                                  )
                                                  )

                             JOINT PROPOSED DISCOVERY PLAN

         On June 12, 2018, counsel for Electrolux Home Products, Inc. (“Electrolux”), hhgregg,

Inc., HHG Distributing LLC, and Gregg Appliances, Inc. (collectively the “Debtors”), Wells

Fargo Bank, N.A. (“Wells Fargo”), and GACP Finance Co., LLC (“GACP,” together with the

Debtors and Wells Fargo, the “Defendants”) conferred on the subjects identified in Rule 26(f)(2)

of the Federal Rules of Civil Procedure and agreed to the following joint discovery plan pursuant

to Rule 26(f)(3) in connection with this proceeding:

         A.     Initial disclosures.    The parties have agreed to exchange Rule 26(a) initial

disclosures on or before July 13, 2018.

         B.     Electrolux’s discovery subjects. Electrolux will pursue discovery pursuant to

Federal Rule of Civil Procedure 26(b)(1) concerning: (a) Electrolux’s claims in Counts I, III, IV,
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VII, and XIV of its Amended Complaint (the “Electrolux Counts”); (b) the Defendants’ defenses

to the Electrolux Counts; and (c) the Defendants’ counterclaims. Electrolux’s discovery topics

include, but are not limited to, the Debtors’ treatment of Electrolux products pre- and post-petition,

the Debtors’ treatment of the Electrolux consigned inventory and proceeds of that inventory,

communications regarding Electrolux among the Debtors, Wells Fargo, and GACP, and the

parties’ performance under the Consignment Agreement and Intercreditor Agreement. Electrolux

will pursue this discovery through document requests and interrogatories, third-party subpoenas,

and depositions.

         C.       Debtors’ discovery subjects. The Debtors will pursue discovery pursuant to

Federal Rule of Civil Procedure 26(b)(1) concerning: (a) the Electrolux Counts; (b) the Debtors’

defenses to the Electrolux Counts; and (c) the Debtors’ counterclaims. The Debtors will pursue

this discovery through document requests and interrogatories, third-party subpoenas, and

depositions.

         D.       Wells Fargo’s discovery subjects. [Wells Fargo will pursue discovery pursuant

to Federal Rule of Civil Procedure 26(b)(1) concerning: (a) the Electrolux Counts; (b) Wells

Fargo’s defenses to the Electrolux Counts; and (c) Wells Fargo’s counterclaims. Wells Fargo will

pursue this discovery through document requests and interrogatories, third-party subpoenas, and

depositions.]

         E.       Timing of Discovery. The parties have agreed to provide written responses to the

pending discovery requests by July 29, 2018, subject to the narrowed parameters discussed during

the June 12, 2018 discovery conference. Production of documents is anticipated to occur on a

rolling basis and shall be completed by September 14, 2018. The parties anticipate completing

depositions by November 15, 2018.




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         F.       Expert Discovery. The parties reserve their rights with respect to expert witnesses

and will further meet and confer with regard to any proposed expert witness testimony.

         G.       Electronically-stored information. The parties will exchange lists of custodians

searched and search terms for electronically stored information (“ESI”). The parties reserve their

rights to object to ESI search protocols if agreements are not reached.

         H.       Privilege. The parties will produce a privilege log in accordance with Federal Rule

of Civil Procedure 26(b)(5), subject to the producing parties’ objections on the grounds of undue

burden, proportionality, or otherwise.

         I.       Confidentiality and Protective Order. Prior to the disclosure of any documents

or information that may reveal trade secret, competitively sensitive, confidential commercial, or

confidential financial information that is not generally known to the public, the parties shall enter

into a confidentiality stipulation for review and endorsement by the Court. Such confidentiality

stipulation shall include, but will not be limited to, appropriate procedures for clawback of

privileged or confidential documents and information and challenging parties’ privilege and

confidentiality designations.

         J.       Settlement and Alternative Dispute Resolution. The parties agree to participate

in alternative dispute resolution at such time as all parties agree it might be fruitful or at the

conclusion of discovery, whichever is earlier.




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Agreed to by:

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